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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,                                  CIVIL ACTION NO.: 2:18-cv-62

        v.

 HERCULES, LLC,

               Defendant.


                                           ORDER

       On July 8, 2018, this Court granted the parties’ joint motion to stay discovery, doc. 6, in

order to provide time for an extended public comment period regarding a proposed consent

decree. Doc. 9. Specifically, the Court ordered counsel to promptly evaluate the public

comments received and, after such evaluation, to inform the Court as to whether the United

States “supports the entry of the lodged Consent Decree.” Doc. 9. On September 6, 2018, the

Government informed the Court that the comment period had been extended and would end on

September 20, 2018. Doc. 12. In a status report filed December 11, 2018, the Government

stated it received “approximately one hundred comments” and that it was in the process of

“reviewing this unusually high volume of comments.” Doc. 13.
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        Approximately five months have passed since the Government’s last status report. 1 The

Court, therefore, ORDERS counsel to file an updated status report regarding evaluation of the

public comments received within 14 days of this Order.

        SO ORDERED, this 14th day of May, 2019.




                                        ____________________________________
                                        BENJAMIN W. CHEESBRO
                                        UNITED STATES MAGISTRATE JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA




1
       This action was administratively stayed on January 11, 2019 due to a lapse in appropriations.
Doc. 14. The Court lifted that stay on February 1, 2019. Doc. 15.


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